Case 2:21-cv-00781-JCC-SKV Document 1-2 Filed 06/10/21 Page 1 of 13




                  EXHIBIT A
Case 2:21-cv-00781-JCC-SKV Document 1-2 Filed 06/10/21 Page 2 of 13
Case 2:21-cv-00781-JCC-SKV Document 1-2 Filed 06/10/21 Page 3 of 13
Case 2:21-cv-00781-JCC-SKV Document 1-2 Filed 06/10/21 Page 4 of 13
Case 2:21-cv-00781-JCC-SKV Document 1-2 Filed 06/10/21 Page 5 of 13
Case 2:21-cv-00781-JCC-SKV Document 1-2 Filed 06/10/21 Page 6 of 13
Case 2:21-cv-00781-JCC-SKV Document 1-2 Filed 06/10/21 Page 7 of 13
Case 2:21-cv-00781-JCC-SKV Document 1-2 Filed 06/10/21 Page 8 of 13
Case 2:21-cv-00781-JCC-SKV Document 1-2 Filed 06/10/21 Page 9 of 13
Case 2:21-cv-00781-JCC-SKV Document 1-2 Filed 06/10/21 Page 10 of 13
Case 2:21-cv-00781-JCC-SKV Document 1-2 Filed 06/10/21 Page 11 of 13
Case 2:21-cv-00781-JCC-SKV Document 1-2 Filed 06/10/21 Page 12 of 13
Case 2:21-cv-00781-JCC-SKV Document 1-2 Filed 06/10/21 Page 13 of 13
